             Case 2:11-cv-00084 Document 1161 Filed on 12/10/21 in TXSD Page 1 of 31

                                                                                                  INVOICE
                                                                                        From      Texas Appleseed
                                                                                                  1609 Shoal Creek Blvd
                                                                                                  Ste 201
                                                                                                  Austin, TX 78701




Invoice ID        28                                                               Invoice For    Texas DFPS/HHSC
Issue Date        12/07/2021

Due Date          01/06/2022 (Net 30)

Subject           Texas Appleseed Monitoring Team; November
                  2021




Item Type         Description                                                         Quantity          Unit Price              Amount

Service           Texas Foster Care Court Monitoring - Travel (11/01/2021 -             11.92            $139.35             $1,661.07
                  11/30/2021)


Service           Texas Foster Care Monitoring (11/01/2021 - 11/30/2021)             1,662.80            $281.93           $468,800.00


Product           Expenses for Texas Foster Care Monitoring (11/01/2021 -                1.00            $125.72               $125.72
                  11/30/2021)


                                                                                                 Amount Due            $470,586.79




Notes

All documents reviewed include data and information submitted by DFPS and HHSC; laws, policies, regulations; the agencies' websites and
other relevant, publicly-available data and information; communications with the parties; and internal work product for the Court.




                                                             Page 1 of 1
             Case 2:11-cv-00084 Document 1161 Filed on 12/10/21 in TXSD Page 2 of 31

                                                                                                 INVOICE
                                                                                        From     Texas Appleseed
                                                                                                 1609 Shoal Creek Blvd
                                                                                                 Ste 201
                                                                                                 Austin, TX 78701




Invoice ID       28                                                                Invoice For   Texas DFPS/HHSC
Issue Date       12/07/2021

Due Date         01/06/2022 (Net 30)

Subject          Texas Appleseed Monitoring Team; November
                 2021




Item Type        Description                                                          Quantity         Unit Price          Amount

Service          Texas Foster Care Court Monitoring - Travel - 11/09/2021 -              2.25           $100.00           $225.00
                 Travel / Adrian Gaspar


Service          Texas Foster Care Court Monitoring - Travel - 11/09/2021 -              5.25           $162.50           $853.13
                 Travel / Clarice Rogers


Service          Texas Foster Care Court Monitoring - Travel - 11/09/2021 -              2.25           $125.00           $281.25
                 Travel / Shay Price


Service          Texas Foster Care Court Monitoring - Travel - 11/18/2021 -              1.75           $125.00           $218.75
                 Travel / Mahiri Moody


Service          Texas Foster Care Court Monitoring - Travel - 11/18/2021 -              0.42           $197.50            $82.95
                 EVE/WKND Travel / Linda Brooke


Service          Texas Foster Care Monitoring - 11/01/2021 - Document                    7.00           $250.00          $1,750.00
                 Review/Data Analysis/Verification Work / Mahiri Moody


Service          Texas Foster Care Monitoring - 11/01/2021 - Meetings with               0.50           $250.00           $125.00
                 agency leadership, staff, clients, conference calls, time spent
                 with team, plaintiffs consultants or other providers. / Mahiri
                 Moody


Service          Texas Foster Care Monitoring - 11/01/2021 - Document                    2.73           $325.00           $887.25
                 Review/Data Analysis/Verification Work / Monica Santiago


Service          Texas Foster Care Monitoring - 11/01/2021 - Document                    5.58           $250.00          $1,395.00
                 Review/Data Analysis/Verification Work / Catherine Morris



                                                              Page 1 of 27
          Case 2:11-cv-00084 Document 1161 Filed on 12/10/21 in TXSD Page 3 of 31

Service       Texas Foster Care Monitoring - 11/01/2021 - Meetings with            1.00   $250.00    $250.00
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Deborah
              Borman


Service       Texas Foster Care Monitoring - 11/01/2021 - Meetings with            0.50   $325.00    $162.50
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Nancy
              Arrigona


Service       Texas Foster Care Monitoring - 11/01/2021 - Document                 7.75   $325.00   $2,518.75
              Review/Data Analysis/Verification Work / Nancy Arrigona


Service       Texas Foster Care Monitoring - 11/01/2021 - Project                  3.00   $300.00    $900.00
              Management & Planning / Monica Benedict


Service       Texas Foster Care Monitoring - 11/01/2021 - Document                 3.00   $300.00    $900.00
              Review/Data Analysis/Verification Work / Monica Benedict


Service       Texas Foster Care Monitoring - 11/01/2021 - Meetings with            0.50   $250.00    $125.00
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Veronica
              Lockett-Villalpando


Service       Texas Foster Care Monitoring - 11/01/2021 - Document                 5.50   $250.00   $1,375.00
              Review/Data Analysis/Verification Work / Veronica Lockett-
              Villalpando


Service       Texas Foster Care Monitoring - 11/01/2021 - Meetings with            0.50   $250.00    $125.00
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Shay Price


Service       Texas Foster Care Monitoring - 11/01/2021 - Document                 7.50   $250.00   $1,875.00
              Review/Data Analysis/Verification Work / Shay Price


Service       Texas Foster Care Monitoring - 11/01/2021 - Document                 4.75   $325.00   $1,543.75
              Review/Data Analysis/Verification Work / Victoria Foster


Service       Texas Foster Care Monitoring - 11/01/2021 - Meetings with            0.67   $395.00    $264.65
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Linda
              Brooke


Service       Texas Foster Care Monitoring - 11/01/2021 - Document                 7.08   $395.00   $2,796.60
              Review/Data Analysis/Verification Work / Linda Brooke


Service       Texas Foster Care Monitoring - 11/01/2021 - Project                  1.33   $395.00    $525.35
              Management & Planning / Linda Brooke


Service       Texas Foster Care Monitoring - 11/01/2021 - Document                 8.00   $200.00   $1,600.00
              Review/Data Analysis/Verification Work / Adrian Gaspar




                                                           Page 2 of 27
          Case 2:11-cv-00084 Document 1161 Filed on 12/10/21 in TXSD Page 4 of 31

Service       Texas Foster Care Monitoring - 11/01/2021 - Document              8.00   $120.00    $960.00
              Review/Data Analysis/Verification Work / Anna Farr


Service       Texas Foster Care Monitoring - 11/01/2021 - Meetings with         1.25   $395.00    $493.75
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Beth
              Mitchell


Service       Texas Foster Care Monitoring - 11/02/2021 - Document              3.08   $250.00    $770.00
              Review/Data Analysis/Verification Work / Catherine Morris


Service       Texas Foster Care Monitoring - 11/02/2021 - Document              1.00   $250.00    $250.00
              Review/Data Analysis/Verification Work / Catherine Morris


Service       Texas Foster Care Monitoring - 11/02/2021 - Project               1.00   $325.00    $325.00
              Management & Planning / Viveca Martinez


Service       Texas Foster Care Monitoring - 11/02/2021 - Document              0.42   $250.00    $105.00
              Review/Data Analysis/Verification Work / Catherine Morris


Service       Texas Foster Care Monitoring - 11/02/2021 - Document              5.48   $325.00   $1,781.00
              Review/Data Analysis/Verification Work / Monica Santiago


Service       Texas Foster Care Monitoring - 11/02/2021 - Document              0.75   $250.00    $187.50
              Review/Data Analysis/Verification Work / Catherine Morris


Service       Texas Foster Care Monitoring - 11/02/2021 - Document              6.75   $325.00   $2,193.75
              Review/Data Analysis/Verification Work / Nancy Arrigona


Service       Texas Foster Care Monitoring - 11/02/2021 - Project               2.00   $325.00    $650.00
              Management & Planning / Nancy Arrigona


Service       Texas Foster Care Monitoring - 11/02/2021 - Project               5.00   $300.00   $1,500.00
              Management & Planning / Monica Benedict


Service       Texas Foster Care Monitoring - 11/02/2021 - Document              2.00   $300.00    $600.00
              Review/Data Analysis/Verification Work / Monica Benedict


Service       Texas Foster Care Monitoring - 11/02/2021 - Meetings with         1.00   $250.00    $250.00
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Deborah
              Borman


Service       Texas Foster Care Monitoring - 11/02/2021 - Document              5.00   $250.00   $1,250.00
              Review/Data Analysis/Verification Work / Veronica Lockett-
              Villalpando


Service       Texas Foster Care Monitoring - 11/02/2021 - Document              8.00   $250.00   $2,000.00
              Review/Data Analysis/Verification Work / Mahiri Moody


Service       Texas Foster Care Monitoring - 11/02/2021 - Document              8.00   $250.00   $2,000.00
              Review/Data Analysis/Verification Work / Shay Price



                                                           Page 3 of 27
          Case 2:11-cv-00084 Document 1161 Filed on 12/10/21 in TXSD Page 5 of 31

Service       Texas Foster Care Monitoring - 11/02/2021 - Meetings with         2.00   $425.00    $850.00
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Deborah
              Fowler


Service       Texas Foster Care Monitoring - 11/02/2021 - Document              8.50   $325.00   $2,762.50
              Review/Data Analysis/Verification Work / Clarice Rogers


Service       Texas Foster Care Monitoring - 11/02/2021 - Document              4.33   $325.00   $1,407.25
              Review/Data Analysis/Verification Work / Victoria Foster


Service       Texas Foster Care Monitoring - 11/02/2021 - Meetings with         3.50   $395.00   $1,382.50
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Linda
              Brooke


Service       Texas Foster Care Monitoring - 11/02/2021 - Project               1.42   $395.00    $560.90
              Management & Planning / Linda Brooke


Service       Texas Foster Care Monitoring - 11/02/2021 - Document              2.58   $395.00   $1,019.10
              Review/Data Analysis/Verification Work / Linda Brooke


Service       Texas Foster Care Monitoring - 11/02/2021 - Document              8.00   $200.00   $1,600.00
              Review/Data Analysis/Verification Work / Adrian Gaspar


Service       Texas Foster Care Monitoring - 11/02/2021 - Document              8.00   $120.00    $960.00
              Review/Data Analysis/Verification Work / Anna Farr


Service       Texas Foster Care Monitoring - 11/02/2021 - Document              4.17   $395.00   $1,647.15
              Review/Data Analysis/Verification Work / Beth Mitchell


Service       Texas Foster Care Monitoring - 11/02/2021 - Document              0.75   $395.00    $296.25
              Review/Data Analysis/Verification Work / Beth Mitchell


Service       Texas Foster Care Monitoring - 11/03/2021 - Document              8.00   $250.00   $2,000.00
              Review/Data Analysis/Verification Work / Mahiri Moody


Service       Texas Foster Care Monitoring - 11/03/2021 - Document              6.00   $300.00   $1,800.00
              Review/Data Analysis/Verification Work / Monica Benedict


Service       Texas Foster Care Monitoring - 11/03/2021 - Project               1.00   $300.00    $300.00
              Management & Planning / Monica Benedict


Service       Texas Foster Care Monitoring - 11/03/2021 - Project               0.50   $325.00    $162.50
              Management & Planning / Nancy Arrigona


Service       Texas Foster Care Monitoring - 11/03/2021 - Document              8.17   $325.00   $2,655.25
              Review/Data Analysis/Verification Work / Nancy Arrigona




                                                           Page 4 of 27
          Case 2:11-cv-00084 Document 1161 Filed on 12/10/21 in TXSD Page 6 of 31

Service       Texas Foster Care Monitoring - 11/03/2021 - Meetings with          7.00   $250.00   $1,750.00
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Deborah
              Borman


Service       Texas Foster Care Monitoring - 11/03/2021 - Document               8.00   $250.00   $2,000.00
              Review/Data Analysis/Verification Work / Veronica Lockett-
              Villalpando


Service       Texas Foster Care Monitoring - 11/03/2021 - Document               1.55   $325.00    $503.75
              Review/Data Analysis/Verification Work / Monica Santiago


Service       Texas Foster Care Monitoring - 11/03/2021 - Document               8.00   $250.00   $2,000.00
              Review/Data Analysis/Verification Work / Shay Price


Service       Texas Foster Care Monitoring - 11/03/2021 - Document               7.50   $325.00   $2,437.50
              Review/Data Analysis/Verification Work / Clarice Rogers


Service       Texas Foster Care Monitoring - 11/03/2021 - Meetings with          0.33   $325.00    $107.25
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Victoria
              Foster


Service       Texas Foster Care Monitoring - 11/03/2021 - Document               8.75   $395.00   $3,456.25
              Review/Data Analysis/Verification Work / Linda Brooke


Service       Texas Foster Care Monitoring - 11/03/2021 - Document               8.00   $120.00    $960.00
              Review/Data Analysis/Verification Work / Anna Farr


Service       Texas Foster Care Monitoring - 11/03/2021 - Project                2.00   $325.00    $650.00
              Management & Planning / Viveca Martinez


Service       Texas Foster Care Monitoring - 11/03/2021 - Document               2.67   $395.00   $1,054.65
              Review/Data Analysis/Verification Work / Beth Mitchell


Service       Texas Foster Care Monitoring - 11/03/2021 - Document               2.00   $395.00    $790.00
              Review/Data Analysis/Verification Work / Beth Mitchell


Service       Texas Foster Care Monitoring - 11/03/2021 - Document               8.00   $200.00   $1,600.00
              Review/Data Analysis/Verification Work / Adrian Gaspar


Service       Texas Foster Care Monitoring - 11/04/2021 - Document               4.00   $250.00   $1,000.00
              Review/Data Analysis/Verification Work / Deborah Borman


Service       Texas Foster Care Monitoring - 11/04/2021 - Project                1.00   $300.00    $300.00
              Management & Planning / Monica Benedict


Service       Texas Foster Care Monitoring - 11/04/2021 - Document               5.50   $300.00   $1,650.00
              Review/Data Analysis/Verification Work / Monica Benedict




                                                            Page 5 of 27
          Case 2:11-cv-00084 Document 1161 Filed on 12/10/21 in TXSD Page 7 of 31

Service       Texas Foster Care Monitoring - 11/04/2021 - Document              8.00   $250.00   $2,000.00
              Review/Data Analysis/Verification Work / Veronica Lockett-
              Villalpando


Service       Texas Foster Care Monitoring - 11/04/2021 - Document              8.17   $325.00   $2,655.25
              Review/Data Analysis/Verification Work / Nancy Arrigona


Service       Texas Foster Care Monitoring - 11/04/2021 - Document              8.00   $250.00   $2,000.00
              Review/Data Analysis/Verification Work / Mahiri Moody


Service       Texas Foster Care Monitoring - 11/04/2021 - Document              4.15   $325.00   $1,348.75
              Review/Data Analysis/Verification Work / Monica Santiago


Service       Texas Foster Care Monitoring - 11/04/2021 - Document              7.00   $250.00   $1,750.00
              Review/Data Analysis/Verification Work / Shay Price


Service       Texas Foster Care Monitoring - 11/04/2021 - Document              2.50   $250.00    $625.00
              Review/Data Analysis/Verification Work / Catherine Morris


Service       Texas Foster Care Monitoring - 11/04/2021 - Document              7.83   $325.00   $2,544.75
              Review/Data Analysis/Verification Work / Clarice Rogers


Service       Texas Foster Care Monitoring - 11/04/2021 - Project               1.75   $395.00    $691.25
              Management & Planning / Linda Brooke


Service       Texas Foster Care Monitoring - 11/04/2021 - Document              7.42   $395.00   $2,930.90
              Review/Data Analysis/Verification Work / Linda Brooke


Service       Texas Foster Care Monitoring - 11/04/2021 - Document              8.00   $120.00    $960.00
              Review/Data Analysis/Verification Work / Anna Farr


Service       Texas Foster Care Monitoring - 11/04/2021 - Project               2.00   $325.00    $650.00
              Management & Planning / Viveca Martinez


Service       Texas Foster Care Monitoring - 11/04/2021 - Document              0.50   $395.00    $197.50
              Review/Data Analysis/Verification Work / Beth Mitchell


Service       Texas Foster Care Monitoring - 11/04/2021 - Document              8.00   $200.00   $1,600.00
              Review/Data Analysis/Verification Work / Adrian Gaspar


Service       Texas Foster Care Monitoring - 11/05/2021 - Meetings with         1.50   $250.00    $375.00
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Deborah
              Borman


Service       Texas Foster Care Monitoring - 11/05/2021 - Document              3.00   $250.00    $750.00
              Review/Data Analysis/Verification Work / Deborah Borman


Service       Texas Foster Care Monitoring - 11/05/2021 - Document              8.00   $250.00   $2,000.00
              Review/Data Analysis/Verification Work / Mahiri Moody




                                                           Page 6 of 27
          Case 2:11-cv-00084 Document 1161 Filed on 12/10/21 in TXSD Page 8 of 31

Service       Texas Foster Care Monitoring - 11/05/2021 - Document         4.95   $325.00   $1,608.75
              Review/Data Analysis/Verification Work / Monica Santiago


Service       Texas Foster Care Monitoring - 11/05/2021 - Document         7.00   $250.00   $1,750.00
              Review/Data Analysis/Verification Work / Shay Price


Service       Texas Foster Care Monitoring - 11/05/2021 - Document         6.42   $250.00   $1,605.00
              Review/Data Analysis/Verification Work / Catherine Morris


Service       Texas Foster Care Monitoring - 11/05/2021 - Document         7.50   $325.00   $2,437.50
              Review/Data Analysis/Verification Work / Clarice Rogers


Service       Texas Foster Care Monitoring - 11/05/2021 - Document         8.00   $250.00   $2,000.00
              Review/Data Analysis/Verification Work / Veronica Lockett-
              Villalpando


Service       Texas Foster Care Monitoring - 11/05/2021 - Document         9.17   $395.00   $3,622.15
              Review/Data Analysis/Verification Work / Linda Brooke


Service       Texas Foster Care Monitoring - 11/05/2021 - Project          1.83   $395.00    $722.85
              Management & Planning / Linda Brooke


Service       Texas Foster Care Monitoring - 11/05/2021 - Project          1.00   $300.00    $300.00
              Management & Planning / Monica Benedict


Service       Texas Foster Care Monitoring - 11/05/2021 - Document         5.00   $300.00   $1,500.00
              Review/Data Analysis/Verification Work / Monica Benedict


Service       Texas Foster Care Monitoring - 11/05/2021 - Document         7.58   $325.00   $2,463.50
              Review/Data Analysis/Verification Work / Nancy Arrigona


Service       Texas Foster Care Monitoring - 11/05/2021 - Document         8.00   $120.00    $960.00
              Review/Data Analysis/Verification Work / Anna Farr


Service       Texas Foster Care Monitoring - 11/05/2021 - Project          2.00   $325.00    $650.00
              Management & Planning / Viveca Martinez


Service       Texas Foster Care Monitoring - 11/05/2021 - Document         1.28   $395.00    $505.60
              Review/Data Analysis/Verification Work / Beth Mitchell


Service       Texas Foster Care Monitoring - 11/05/2021 - Document         8.00   $200.00   $1,600.00
              Review/Data Analysis/Verification Work / Adrian Gaspar


Service       Texas Foster Care Monitoring - 11/06/2021 - EVE/WKND         7.00   $425.00   $2,975.00
              Document Review/Data Analysis/Verification Work / Deborah
              Fowler


Service       Texas Foster Care Monitoring - 11/06/2021 - Document         2.50   $250.00    $625.00
              Review/Data Analysis/Verification Work / Veronica Lockett-
              Villalpando




                                                         Page 7 of 27
          Case 2:11-cv-00084 Document 1161 Filed on 12/10/21 in TXSD Page 9 of 31

Service       Texas Foster Care Monitoring - 11/07/2021 - EVE/WKND               5.00   $425.00   $2,125.00
              Document Review/Data Analysis/Verification Work / Deborah
              Fowler


Service       Texas Foster Care Monitoring - 11/07/2021 - Document               2.50   $250.00    $625.00
              Review/Data Analysis/Verification Work / Veronica Lockett-
              Villalpando


Service       Texas Foster Care Monitoring - 11/07/2021 - Document               3.50   $395.00   $1,382.50
              Review/Data Analysis/Verification Work / Linda Brooke


Service       Texas Foster Care Monitoring - 11/08/2021 - Meetings with          1.00   $250.00    $250.00
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Deborah
              Borman


Service       Texas Foster Care Monitoring - 11/08/2021 - Meetings with          1.50   $250.00    $375.00
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Veronica
              Lockett-Villalpando


Service       Texas Foster Care Monitoring - 11/08/2021 - Document               6.50   $250.00   $1,625.00
              Review/Data Analysis/Verification Work / Veronica Lockett-
              Villalpando


Service       Texas Foster Care Monitoring - 11/08/2021 - Document               3.50   $250.00    $875.00
              Review/Data Analysis/Verification Work / Catherine Morris


Service       Texas Foster Care Monitoring - 11/08/2021 - Document               0.17   $250.00     $42.50
              Review/Data Analysis/Verification Work / Catherine Morris


Service       Texas Foster Care Monitoring - 11/08/2021 - Meetings with          1.50   $325.00    $487.50
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Nancy
              Arrigona


Service       Texas Foster Care Monitoring - 11/08/2021 - Document               7.08   $325.00   $2,301.00
              Review/Data Analysis/Verification Work / Nancy Arrigona


Service       Texas Foster Care Monitoring - 11/08/2021 - Document               3.00   $250.00    $750.00
              Review/Data Analysis/Verification Work / Deborah Borman


Service       Texas Foster Care Monitoring - 11/08/2021 - Document               5.00   $300.00   $1,500.00
              Review/Data Analysis/Verification Work / Monica Benedict


Service       Texas Foster Care Monitoring - 11/08/2021 - Project                2.00   $300.00    $600.00
              Management & Planning / Monica Benedict


Service       Texas Foster Care Monitoring - 11/08/2021 - Document               8.00   $120.00    $960.00
              Review/Data Analysis/Verification Work / Anna Farr


Service       Texas Foster Care Monitoring - 11/08/2021 - Document               1.50   $200.00    $300.00
              Review/Data Analysis/Verification Work / Adrian Gaspar


                                                           Page 8 of 27
          Case 2:11-cv-00084 Document 1161 Filed on 12/10/21 in TXSD Page 10 of 31

Service        Texas Foster Care Monitoring - 11/08/2021 - Document                 0.50   $200.00    $100.00
               Review/Data Analysis/Verification Work / Adrian Gaspar


Service        Texas Foster Care Monitoring - 11/08/2021 - Document                 6.00   $200.00   $1,200.00
               Review/Data Analysis/Verification Work / Adrian Gaspar


Service        Texas Foster Care Monitoring - 11/08/2021 - Document                 8.00   $325.00   $2,600.00
               Review/Data Analysis/Verification Work / Clarice Rogers


Service        Texas Foster Care Monitoring - 11/08/2021 - Document                 7.00   $250.00   $1,750.00
               Review/Data Analysis/Verification Work / Mahiri Moody


Service        Texas Foster Care Monitoring - 11/08/2021 - Meetings with            1.50   $250.00    $375.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Mahiri
               Moody


Service        Texas Foster Care Monitoring - 11/08/2021 - Meetings with            1.37   $395.00    $541.15
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Beth
               Mitchell


Service        Texas Foster Care Monitoring - 11/08/2021 - Meetings with            1.58   $395.00    $624.10
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Linda
               Brooke


Service        Texas Foster Care Monitoring - 11/08/2021 - Project                  0.75   $395.00    $296.25
               Management & Planning / Linda Brooke


Service        Texas Foster Care Monitoring - 11/08/2021 - Document                 6.67   $395.00   $2,634.65
               Review/Data Analysis/Verification Work / Linda Brooke


Service        Texas Foster Care Monitoring - 11/08/2021 - Meetings with            1.50   $250.00    $375.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Shay Price


Service        Texas Foster Care Monitoring - 11/08/2021 - Document                 0.25   $250.00     $62.50
               Review/Data Analysis/Verification Work / Shay Price


Service        Texas Foster Care Monitoring - 11/08/2021 - Document                 6.25   $250.00   $1,562.50
               Review/Data Analysis/Verification Work / Shay Price


Service        Texas Foster Care Monitoring - 11/08/2021 - Project                  2.00   $325.00    $650.00
               Management & Planning / Viveca Martinez


Service        Texas Foster Care Monitoring - 11/08/2021 - Meetings with            1.50   $425.00    $637.50
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Deborah
               Fowler




                                                            Page 9 of 27
          Case 2:11-cv-00084 Document 1161 Filed on 12/10/21 in TXSD Page 11 of 31

Service        Texas Foster Care Monitoring - 11/08/2021 - Meetings with          0.38   $325.00    $123.50
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Victoria
               Foster


Service        Texas Foster Care Monitoring - 11/09/2021 - Document               2.11   $300.00    $633.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 11/09/2021 - Document               1.50   $250.00    $375.00
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 11/09/2021 - Document               5.00   $250.00   $1,250.00
               Review/Data Analysis/Verification Work / Deborah Borman


Service        Texas Foster Care Monitoring - 11/09/2021 - Document               0.83   $300.00    $249.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 11/09/2021 - Document               8.00   $120.00    $960.00
               Review/Data Analysis/Verification Work / Anna Farr


Service        Texas Foster Care Monitoring - 11/09/2021 - Document               4.00   $200.00    $800.00
               Review/Data Analysis/Verification Work / Adrian Gaspar


Service        Texas Foster Care Monitoring - 11/09/2021 - Document               2.00   $200.00    $400.00
               Review/Data Analysis/Verification Work / Adrian Gaspar


Service        Texas Foster Care Monitoring - 11/09/2021 - Document               0.30   $250.00     $75.00
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 11/09/2021 - Project                2.00   $300.00    $600.00
               Management & Planning / Monica Benedict


Service        Texas Foster Care Monitoring - 11/09/2021 - Document               5.50   $300.00   $1,650.00
               Review/Data Analysis/Verification Work / Monica Benedict


Service        Texas Foster Care Monitoring - 11/09/2021 - Document               2.00   $325.00    $650.00
               Review/Data Analysis/Verification Work / Clarice Rogers


Service        Texas Foster Care Monitoring - 11/09/2021 - Document               8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Mahiri Moody


Service        Texas Foster Care Monitoring - 11/09/2021 - Meetings with          1.33   $395.00    $525.35
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Beth
               Mitchell


Service        Texas Foster Care Monitoring - 11/09/2021 - Document               3.37   $395.00   $1,331.15
               Review/Data Analysis/Verification Work / Beth Mitchell


Service        Texas Foster Care Monitoring - 11/09/2021 - Document               8.17   $395.00   $3,227.15
               Review/Data Analysis/Verification Work / Linda Brooke




                                                            Page 10 of 27
          Case 2:11-cv-00084 Document 1161 Filed on 12/10/21 in TXSD Page 12 of 31

Service        Texas Foster Care Monitoring - 11/09/2021 - Project                 1.08   $395.00    $426.60
               Management & Planning / Linda Brooke


Service        Texas Foster Care Monitoring - 11/09/2021 - Document                8.50   $250.00   $2,125.00
               Review/Data Analysis/Verification Work / Veronica Lockett-
               Villalpando


Service        Texas Foster Care Monitoring - 11/09/2021 - Document                3.27   $325.00   $1,062.75
               Review/Data Analysis/Verification Work / Monica Santiago


Service        Texas Foster Care Monitoring - 11/09/2021 - Document                3.75   $250.00    $937.50
               Review/Data Analysis/Verification Work / Shay Price


Service        Texas Foster Care Monitoring - 11/09/2021 - Document                2.00   $250.00    $500.00
               Review/Data Analysis/Verification Work / Shay Price


Service        Texas Foster Care Monitoring - 11/09/2021 - Project                 2.00   $325.00    $650.00
               Management & Planning / Viveca Martinez


Service        Texas Foster Care Monitoring - 11/09/2021 -                         1.00   $325.00    $325.00
               Addressing/managing/attempting to resolve DFPS/HHSC
               technology challenges or barriers to data and information. /
               Victoria Foster


Service        Texas Foster Care Monitoring - 11/09/2021 - Meetings with           1.33   $325.00    $432.25
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Victoria
               Foster


Service        Texas Foster Care Monitoring - 11/09/2021 - Document                2.00   $325.00    $650.00
               Review/Data Analysis/Verification Work / Victoria Foster


Service        Texas Foster Care Monitoring - 11/09/2021 - Document                2.65   $325.00    $861.25
               Review/Data Analysis/Verification Work / Victoria Foster


Service        Texas Foster Care Monitoring - 11/10/2021 - Document                8.00   $120.00    $960.00
               Review/Data Analysis/Verification Work / Anna Farr


Service        Texas Foster Care Monitoring - 11/10/2021 - Document                0.53   $300.00    $159.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 11/10/2021 - Document               10.00   $250.00   $2,500.00
               Review/Data Analysis/Verification Work / Deborah Borman


Service        Texas Foster Care Monitoring - 11/10/2021 - Document                6.00   $250.00   $1,500.00
               Review/Data Analysis/Verification Work / Mahiri Moody


Service        Texas Foster Care Monitoring - 11/10/2021 - Document                2.00   $250.00    $500.00
               Review/Data Analysis/Verification Work / Mahiri Moody


Service        Texas Foster Care Monitoring - 11/10/2021 - Document                0.71   $300.00    $213.00
               Review/Data Analysis/Verification Work / Robert McManus



                                                            Page 11 of 27
          Case 2:11-cv-00084 Document 1161 Filed on 12/10/21 in TXSD Page 13 of 31

Service        Texas Foster Care Monitoring - 11/10/2021 - Document          3.00   $300.00    $900.00
               Review/Data Analysis/Verification Work / Monica Benedict


Service        Texas Foster Care Monitoring - 11/10/2021 - Project           1.00   $300.00    $300.00
               Management & Planning / Monica Benedict


Service        Texas Foster Care Monitoring - 11/10/2021 - Project           2.58   $395.00   $1,019.10
               Management & Planning / Linda Brooke


Service        Texas Foster Care Monitoring - 11/10/2021 - Document          4.75   $395.00   $1,876.25
               Review/Data Analysis/Verification Work / Linda Brooke


Service        Texas Foster Care Monitoring - 11/10/2021 - Document         10.00   $250.00   $2,500.00
               Review/Data Analysis/Verification Work / Veronica Lockett-
               Villalpando


Service        Texas Foster Care Monitoring - 11/10/2021 - Document          9.27   $325.00   $3,012.75
               Review/Data Analysis/Verification Work / Monica Santiago


Service        Texas Foster Care Monitoring - 11/10/2021 - Document          5.50   $250.00   $1,375.00
               Review/Data Analysis/Verification Work / Shay Price


Service        Texas Foster Care Monitoring - 11/10/2021 - Project           2.00   $325.00    $650.00
               Management & Planning / Viveca Martinez


Service        Texas Foster Care Monitoring - 11/10/2021 - Document          8.00   $200.00   $1,600.00
               Review/Data Analysis/Verification Work / Adrian Gaspar


Service        Texas Foster Care Monitoring - 11/10/2021 - Document          5.50   $325.00   $1,787.50
               Review/Data Analysis/Verification Work / Nancy Arrigona


Service        Texas Foster Care Monitoring - 11/10/2021 - Document          9.83   $325.00   $3,194.75
               Review/Data Analysis/Verification Work / Victoria Foster


Service        Texas Foster Care Monitoring - 11/10/2021 - Document          1.75   $395.00    $691.25
               Review/Data Analysis/Verification Work / Beth Mitchell


Service        Texas Foster Care Monitoring - 11/10/2021 - Document          7.25   $325.00   $2,356.25
               Review/Data Analysis/Verification Work / Clarice Rogers


Service        Texas Foster Care Monitoring - 11/11/2021 - Document          8.00   $120.00    $960.00
               Review/Data Analysis/Verification Work / Anna Farr


Service        Texas Foster Care Monitoring - 11/11/2021 - Document          1.00   $250.00    $250.00
               Review/Data Analysis/Verification Work / Deborah Borman


Service        Texas Foster Care Monitoring - 11/11/2021 - Document          3.00   $300.00    $900.00
               Review/Data Analysis/Verification Work / Monica Benedict


Service        Texas Foster Care Monitoring - 11/11/2021 - Document          2.50   $325.00    $812.50
               Review/Data Analysis/Verification Work / Nancy Arrigona




                                                          Page 12 of 27
          Case 2:11-cv-00084 Document 1161 Filed on 12/10/21 in TXSD Page 14 of 31

Service        Texas Foster Care Monitoring - 11/11/2021 - Document         5.92   $395.00   $2,338.40
               Review/Data Analysis/Verification Work / Linda Brooke


Service        Texas Foster Care Monitoring - 11/11/2021 - Project          2.75   $395.00   $1,086.25
               Management & Planning / Linda Brooke


Service        Texas Foster Care Monitoring - 11/11/2021 - Document         5.50   $250.00   $1,375.00
               Review/Data Analysis/Verification Work / Veronica Lockett-
               Villalpando


Service        Texas Foster Care Monitoring - 11/11/2021 - Document         2.83   $250.00    $707.50
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 11/11/2021 - Document         8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Shay Price


Service        Texas Foster Care Monitoring - 11/11/2021 - Project          2.00   $325.00    $650.00
               Management & Planning / Viveca Martinez


Service        Texas Foster Care Monitoring - 11/11/2021 - Document         6.00   $250.00   $1,500.00
               Review/Data Analysis/Verification Work / Mahiri Moody


Service        Texas Foster Care Monitoring - 11/11/2021 - Document         8.00   $325.00   $2,600.00
               Review/Data Analysis/Verification Work / Clarice Rogers


Service        Texas Foster Care Monitoring - 11/12/2021 - Document         8.00   $120.00    $960.00
               Review/Data Analysis/Verification Work / Anna Farr


Service        Texas Foster Care Monitoring - 11/12/2021 - Document         1.04   $300.00    $312.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 11/12/2021 - Document         5.00   $395.00   $1,975.00
               Review/Data Analysis/Verification Work / Linda Brooke


Service        Texas Foster Care Monitoring - 11/12/2021 - Project          3.25   $395.00   $1,283.75
               Management & Planning / Linda Brooke


Service        Texas Foster Care Monitoring - 11/12/2021 - Document         8.00   $325.00   $2,600.00
               Review/Data Analysis/Verification Work / Clarice Rogers


Service        Texas Foster Care Monitoring - 11/12/2021 - Document         7.92   $250.00   $1,980.00
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 11/12/2021 - Document         7.00   $325.00   $2,275.00
               Review/Data Analysis/Verification Work / Nancy Arrigona


Service        Texas Foster Care Monitoring - 11/12/2021 - Document         1.00   $395.00    $395.00
               Review/Data Analysis/Verification Work / Beth Mitchell


Service        Texas Foster Care Monitoring - 11/13/2021 - EVE/WKND         0.50   $425.00    $212.50
               Project Management & Planning / Deborah Fowler




                                                         Page 13 of 27
          Case 2:11-cv-00084 Document 1161 Filed on 12/10/21 in TXSD Page 15 of 31

Service        Texas Foster Care Monitoring - 11/13/2021 - EVE/WKND               0.42   $425.00    $178.50
               Meetings with agency leadership, staff, clients, conference
               calls, time spent with team, plaintiffs consultants or other
               providers. / Deborah Fowler


Service        Texas Foster Care Monitoring - 11/13/2021 - Document               0.49   $300.00    $147.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 11/13/2021 - EVE/WKND               2.00   $425.00    $850.00
               Document Review/Data Analysis/Verification Work / Deborah
               Fowler


Service        Texas Foster Care Monitoring - 11/13/2021 - EVE/WKND               2.00   $425.00    $850.00
               Document Review/Data Analysis/Verification Work / Deborah
               Fowler


Service        Texas Foster Care Monitoring - 11/13/2021 - Document               4.83   $395.00   $1,907.85
               Review/Data Analysis/Verification Work / Linda Brooke


Service        Texas Foster Care Monitoring - 11/14/2021 - EVE/WKND               1.50   $425.00    $637.50
               Document Review/Data Analysis/Verification Work / Deborah
               Fowler


Service        Texas Foster Care Monitoring - 11/14/2021 - Document               2.00   $325.00    $650.00
               Review/Data Analysis/Verification Work / Clarice Rogers


Service        Texas Foster Care Monitoring - 11/14/2021 - Document               2.00   $325.00    $650.00
               Review/Data Analysis/Verification Work / Victoria Foster


Service        Texas Foster Care Monitoring - 11/15/2021 - Document               5.00   $250.00   $1,250.00
               Review/Data Analysis/Verification Work / Deborah Borman


Service        Texas Foster Care Monitoring - 11/15/2021 - Meetings with          0.67   $250.00    $167.50
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Deborah
               Borman


Service        Texas Foster Care Monitoring - 11/15/2021 - Project                6.00   $300.00   $1,800.00
               Management & Planning / Monica Benedict


Service        Texas Foster Care Monitoring - 11/15/2021 - Meetings with          0.50   $250.00    $125.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Veronica
               Lockett-Villalpando


Service        Texas Foster Care Monitoring - 11/15/2021 - Document               9.25   $325.00   $3,006.25
               Review/Data Analysis/Verification Work / Clarice Rogers


Service        Texas Foster Care Monitoring - 11/15/2021 - Document               6.50   $250.00   $1,625.00
               Review/Data Analysis/Verification Work / Veronica Lockett-
               Villalpando




                                                            Page 14 of 27
          Case 2:11-cv-00084 Document 1161 Filed on 12/10/21 in TXSD Page 16 of 31

Service        Texas Foster Care Monitoring - 11/15/2021 - Document                 0.17   $250.00     $42.50
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 11/15/2021 - Document                 4.42   $250.00   $1,105.00
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 11/15/2021 - Document                 4.00   $200.00    $800.00
               Review/Data Analysis/Verification Work / Adrian Gaspar


Service        Texas Foster Care Monitoring - 11/15/2021 - Meetings with            0.75   $425.00    $318.75
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Deborah
               Fowler


Service        Texas Foster Care Monitoring - 11/15/2021 - Project                  1.25   $325.00    $406.25
               Management & Planning / Nancy Arrigona


Service        Texas Foster Care Monitoring - 11/15/2021 - Document                 7.00   $325.00   $2,275.00
               Review/Data Analysis/Verification Work / Nancy Arrigona


Service        Texas Foster Care Monitoring - 11/15/2021 -                          2.25   $325.00    $731.25
               Addressing/managing/attempting to resolve DFPS/HHSC
               technology challenges or barriers to data and information. /
               Monica Santiago


Service        Texas Foster Care Monitoring - 11/15/2021 - Document                 7.00   $250.00   $1,750.00
               Review/Data Analysis/Verification Work / Mahiri Moody


Service        Texas Foster Care Monitoring - 11/15/2021 - Meetings with            0.75   $395.00    $296.25
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Beth
               Mitchell


Service        Texas Foster Care Monitoring - 11/15/2021 - Document                 1.83   $395.00    $722.85
               Review/Data Analysis/Verification Work / Beth Mitchell


Service        Texas Foster Care Monitoring - 11/15/2021 - Meetings with            1.00   $395.00    $395.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Linda
               Brooke


Service        Texas Foster Care Monitoring - 11/15/2021 - Document                 8.17   $395.00   $3,227.15
               Review/Data Analysis/Verification Work / Linda Brooke


Service        Texas Foster Care Monitoring - 11/15/2021 - Meetings with            0.53   $250.00    $132.50
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Shay Price


Service        Texas Foster Care Monitoring - 11/15/2021 - Document                 6.75   $250.00   $1,687.50
               Review/Data Analysis/Verification Work / Shay Price


Service        Texas Foster Care Monitoring - 11/15/2021 - Document                 8.00   $120.00    $960.00
               Review/Data Analysis/Verification Work / Anna Farr


                                                            Page 15 of 27
          Case 2:11-cv-00084 Document 1161 Filed on 12/10/21 in TXSD Page 17 of 31

Service        Texas Foster Care Monitoring - 11/16/2021 - Document               4.00   $200.00    $800.00
               Review/Data Analysis/Verification Work / Adrian Gaspar


Service        Texas Foster Care Monitoring - 11/16/2021 - Document               4.00   $200.00    $800.00
               Review/Data Analysis/Verification Work / Adrian Gaspar


Service        Texas Foster Care Monitoring - 11/16/2021 - Document               1.00   $300.00    $300.00
               Review/Data Analysis/Verification Work / Monica Benedict


Service        Texas Foster Care Monitoring - 11/16/2021 - Project                3.00   $300.00    $900.00
               Management & Planning / Monica Benedict


Service        Texas Foster Care Monitoring - 11/16/2021 - Document               8.17   $325.00   $2,655.25
               Review/Data Analysis/Verification Work / Nancy Arrigona


Service        Texas Foster Care Monitoring - 11/16/2021 - Document               3.75   $250.00    $937.50
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 11/16/2021 - Document               7.83   $325.00   $2,544.75
               Review/Data Analysis/Verification Work / Clarice Rogers


Service        Texas Foster Care Monitoring - 11/16/2021 - Document               4.00   $200.00    $800.00
               Review/Data Analysis/Verification Work / Nora Sawyer


Service        Texas Foster Care Monitoring - 11/16/2021 - Document               8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Veronica Lockett-
               Villalpando


Service        Texas Foster Care Monitoring - 11/16/2021 - Document               4.50   $325.00   $1,462.50
               Review/Data Analysis/Verification Work / Victoria Foster


Service        Texas Foster Care Monitoring - 11/16/2021 - Document               1.50   $325.00    $487.50
               Review/Data Analysis/Verification Work / Victoria Foster


Service        Texas Foster Care Monitoring - 11/16/2021 - Meetings with          0.30   $325.00     $97.50
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Victoria
               Foster


Service        Texas Foster Care Monitoring - 11/16/2021 - Document               7.00   $250.00   $1,750.00
               Review/Data Analysis/Verification Work / Mahiri Moody


Service        Texas Foster Care Monitoring - 11/16/2021 - Document               6.50   $395.00   $2,567.50
               Review/Data Analysis/Verification Work / Linda Brooke


Service        Texas Foster Care Monitoring - 11/16/2021 - Project                1.83   $395.00    $722.85
               Management & Planning / Linda Brooke


Service        Texas Foster Care Monitoring - 11/16/2021 - Document               8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Shay Price




                                                            Page 16 of 27
          Case 2:11-cv-00084 Document 1161 Filed on 12/10/21 in TXSD Page 18 of 31

Service        Texas Foster Care Monitoring - 11/16/2021 - Document              8.00   $120.00    $960.00
               Review/Data Analysis/Verification Work / Anna Farr


Service        Texas Foster Care Monitoring - 11/17/2021 - Document              0.08   $250.00     $20.00
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 11/17/2021 - Meetings with         1.00   $425.00    $425.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Deborah
               Fowler


Service        Texas Foster Care Monitoring - 11/17/2021 - Document              7.00   $200.00   $1,400.00
               Review/Data Analysis/Verification Work / Nora Sawyer


Service        Texas Foster Care Monitoring - 11/17/2021 - Project               3.00   $300.00    $900.00
               Management & Planning / Monica Benedict


Service        Texas Foster Care Monitoring - 11/17/2021 - Document              4.50   $300.00   $1,350.00
               Review/Data Analysis/Verification Work / Monica Benedict


Service        Texas Foster Care Monitoring - 11/17/2021 - Document              8.00   $200.00   $1,600.00
               Review/Data Analysis/Verification Work / Adrian Gaspar


Service        Texas Foster Care Monitoring - 11/17/2021 - Document              5.50   $250.00   $1,375.00
               Review/Data Analysis/Verification Work / Veronica Lockett-
               Villalpando


Service        Texas Foster Care Monitoring - 11/17/2021 - Document              6.00   $325.00   $1,950.00
               Review/Data Analysis/Verification Work / Nancy Arrigona


Service        Texas Foster Care Monitoring - 11/17/2021 - Project               1.00   $325.00    $325.00
               Management & Planning / Nancy Arrigona


Service        Texas Foster Care Monitoring - 11/17/2021 - Document              1.50   $250.00    $375.00
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 11/17/2021 - Document              8.50   $325.00   $2,762.50
               Review/Data Analysis/Verification Work / Victoria Foster


Service        Texas Foster Care Monitoring - 11/17/2021 - Document              4.00   $250.00   $1,000.00
               Review/Data Analysis/Verification Work / Mahiri Moody


Service        Texas Foster Care Monitoring - 11/17/2021 - Document              4.00   $250.00   $1,000.00
               Review/Data Analysis/Verification Work / Mahiri Moody


Service        Texas Foster Care Monitoring - 11/17/2021 - Document              1.00   $395.00    $395.00
               Review/Data Analysis/Verification Work / Beth Mitchell


Service        Texas Foster Care Monitoring - 11/17/2021 - Project               2.00   $395.00    $790.00
               Management & Planning / Linda Brooke




                                                           Page 17 of 27
          Case 2:11-cv-00084 Document 1161 Filed on 12/10/21 in TXSD Page 19 of 31

Service        Texas Foster Care Monitoring - 11/17/2021 - Meetings with          0.75   $395.00    $296.25
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Linda
               Brooke


Service        Texas Foster Care Monitoring - 11/17/2021 - Document               6.92   $395.00   $2,733.40
               Review/Data Analysis/Verification Work / Linda Brooke


Service        Texas Foster Care Monitoring - 11/17/2021 - Document               8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Shay Price


Service        Texas Foster Care Monitoring - 11/17/2021 - Document               5.83   $325.00   $1,894.75
               Review/Data Analysis/Verification Work / Clarice Rogers


Service        Texas Foster Care Monitoring - 11/17/2021 - Document               8.00   $120.00    $960.00
               Review/Data Analysis/Verification Work / Anna Farr


Service        Texas Foster Care Monitoring - 11/18/2021 - Document               1.00   $425.00    $425.00
               Review/Data Analysis/Verification Work / Deborah Fowler


Service        Texas Foster Care Monitoring - 11/18/2021 - Document               3.08   $250.00    $770.00
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 11/18/2021 - Document               2.00   $425.00    $850.00
               Review/Data Analysis/Verification Work / Deborah Fowler


Service        Texas Foster Care Monitoring - 11/18/2021 - Document               5.00   $325.00   $1,625.00
               Review/Data Analysis/Verification Work / Clarice Rogers


Service        Texas Foster Care Monitoring - 11/18/2021 - Project                3.50   $325.00   $1,137.50
               Management & Planning / Nancy Arrigona


Service        Texas Foster Care Monitoring - 11/18/2021 - Document               4.75   $325.00   $1,543.75
               Review/Data Analysis/Verification Work / Nancy Arrigona


Service        Texas Foster Care Monitoring - 11/18/2021 - Document              10.25   $325.00   $3,331.25
               Review/Data Analysis/Verification Work / Victoria Foster


Service        Texas Foster Care Monitoring - 11/18/2021 - Meetings with          1.00   $200.00    $200.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Nora
               Sawyer


Service        Texas Foster Care Monitoring - 11/18/2021 - Document               5.00   $200.00   $1,000.00
               Review/Data Analysis/Verification Work / Nora Sawyer


Service        Texas Foster Care Monitoring - 11/18/2021 - Document               4.00   $300.00   $1,200.00
               Review/Data Analysis/Verification Work / Monica Benedict




                                                           Page 18 of 27
          Case 2:11-cv-00084 Document 1161 Filed on 12/10/21 in TXSD Page 20 of 31

Service        Texas Foster Care Monitoring - 11/18/2021 -                       0.60   $325.00    $195.00
               Addressing/managing/attempting to resolve DFPS/HHSC
               technology challenges or barriers to data and information. /
               Monica Santiago


Service        Texas Foster Care Monitoring - 11/18/2021 - Document              1.00   $250.00    $250.00
               Review/Data Analysis/Verification Work / Mahiri Moody


Service        Texas Foster Care Monitoring - 11/18/2021 - Document              5.00   $250.00   $1,250.00
               Review/Data Analysis/Verification Work / Mahiri Moody


Service        Texas Foster Care Monitoring - 11/18/2021 - Document              3.00   $395.00   $1,185.00
               Review/Data Analysis/Verification Work / Beth Mitchell


Service        Texas Foster Care Monitoring - 11/18/2021 - Meetings with         1.00   $394.99    $394.99
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Beth
               Mitchell


Service        Texas Foster Care Monitoring - 11/18/2021 - Document              6.58   $395.00   $2,599.10
               Review/Data Analysis/Verification Work / Linda Brooke


Service        Texas Foster Care Monitoring - 11/18/2021 - Project               3.75   $395.00   $1,481.25
               Management & Planning / Linda Brooke


Service        Texas Foster Care Monitoring - 11/18/2021 - Document              8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Shay Price


Service        Texas Foster Care Monitoring - 11/18/2021 - Document              8.00   $200.00   $1,600.00
               Review/Data Analysis/Verification Work / Adrian Gaspar


Service        Texas Foster Care Monitoring - 11/18/2021 - Document              8.00   $120.00    $960.00
               Review/Data Analysis/Verification Work / Anna Farr


Service        Texas Foster Care Monitoring - 11/19/2021 - Document              7.00   $200.00   $1,400.00
               Review/Data Analysis/Verification Work / Nora Sawyer


Service        Texas Foster Care Monitoring - 11/19/2021 - Meetings with         1.00   $200.00    $200.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Nora
               Sawyer


Service        Texas Foster Care Monitoring - 11/19/2021 - Project               2.50   $300.00    $750.00
               Management & Planning / Monica Benedict


Service        Texas Foster Care Monitoring - 11/19/2021 - Document              4.50   $300.00   $1,350.00
               Review/Data Analysis/Verification Work / Monica Benedict


Service        Texas Foster Care Monitoring - 11/19/2021 -                       5.60   $325.00   $1,820.00
               Addressing/managing/attempting to resolve DFPS/HHSC
               technology challenges or barriers to data and information. /
               Monica Santiago



                                                           Page 19 of 27
          Case 2:11-cv-00084 Document 1161 Filed on 12/10/21 in TXSD Page 21 of 31

Service        Texas Foster Care Monitoring - 11/19/2021 - Document              1.67   $325.00    $542.75
               Review/Data Analysis/Verification Work / Victoria Foster


Service        Texas Foster Care Monitoring - 11/19/2021 -                       0.33   $325.00    $107.25
               Addressing/managing/attempting to resolve DFPS/HHSC
               technology challenges or barriers to data and information. /
               Victoria Foster


Service        Texas Foster Care Monitoring - 11/19/2021 - Document              5.90   $325.00   $1,917.50
               Review/Data Analysis/Verification Work / Victoria Foster


Service        Texas Foster Care Monitoring - 11/19/2021 - Document              5.60   $250.00   $1,400.00
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 11/19/2021 - Document              7.50   $325.00   $2,437.50
               Review/Data Analysis/Verification Work / Nancy Arrigona


Service        Texas Foster Care Monitoring - 11/19/2021 - Document              7.00   $250.00   $1,750.00
               Review/Data Analysis/Verification Work / Mahiri Moody


Service        Texas Foster Care Monitoring - 11/19/2021 - Document              2.33   $395.00    $920.35
               Review/Data Analysis/Verification Work / Beth Mitchell


Service        Texas Foster Care Monitoring - 11/19/2021 - Meetings with         0.67   $395.00    $264.65
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Linda
               Brooke


Service        Texas Foster Care Monitoring - 11/19/2021 - Project               3.50   $395.00   $1,382.50
               Management & Planning / Linda Brooke


Service        Texas Foster Care Monitoring - 11/19/2021 - Document              4.00   $395.00   $1,580.00
               Review/Data Analysis/Verification Work / Linda Brooke


Service        Texas Foster Care Monitoring - 11/19/2021 - Document              8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Shay Price


Service        Texas Foster Care Monitoring - 11/19/2021 - Document              8.00   $200.00   $1,600.00
               Review/Data Analysis/Verification Work / Adrian Gaspar


Service        Texas Foster Care Monitoring - 11/19/2021 - Document              7.25   $325.00   $2,356.25
               Review/Data Analysis/Verification Work / Clarice Rogers


Service        Texas Foster Care Monitoring - 11/19/2021 - Document              8.00   $120.00    $960.00
               Review/Data Analysis/Verification Work / Anna Farr


Service        Texas Foster Care Monitoring - 11/20/2021 - EVE/WKND              6.50   $425.00   $2,762.50
               Document Review/Data Analysis/Verification Work / Deborah
               Fowler


Service        Texas Foster Care Monitoring - 11/21/2021 - Document              4.25   $325.00   $1,381.25
               Review/Data Analysis/Verification Work / Nancy Arrigona



                                                           Page 20 of 27
          Case 2:11-cv-00084 Document 1161 Filed on 12/10/21 in TXSD Page 22 of 31

Service        Texas Foster Care Monitoring - 11/21/2021 - EVE/WKND              5.00   $425.00   $2,125.00
               Report and Document Preparation / Deborah Fowler


Service        Texas Foster Care Monitoring - 11/22/2021 - Document              6.50   $250.00   $1,625.00
               Review/Data Analysis/Verification Work / Mahiri Moody


Service        Texas Foster Care Monitoring - 11/22/2021 - Project               2.50   $300.00    $750.00
               Management & Planning / Monica Benedict


Service        Texas Foster Care Monitoring - 11/22/2021 - Meetings with         2.00   $200.00    $400.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Nora
               Sawyer


Service        Texas Foster Care Monitoring - 11/22/2021 - Document              6.00   $200.00   $1,200.00
               Review/Data Analysis/Verification Work / Nora Sawyer


Service        Texas Foster Care Monitoring - 11/22/2021 - Document              2.50   $300.00    $750.00
               Review/Data Analysis/Verification Work / Monica Benedict


Service        Texas Foster Care Monitoring - 11/22/2021 - Report and            3.00   $425.00   $1,275.00
               Document Preparation / Deborah Fowler


Service        Texas Foster Care Monitoring - 11/22/2021 - Document              4.50   $325.00   $1,462.50
               Review/Data Analysis/Verification Work / Clarice Rogers


Service        Texas Foster Care Monitoring - 11/22/2021 - Project               3.00   $325.00    $975.00
               Management & Planning / Nancy Arrigona


Service        Texas Foster Care Monitoring - 11/22/2021 - Document              4.92   $325.00   $1,599.00
               Review/Data Analysis/Verification Work / Nancy Arrigona


Service        Texas Foster Care Monitoring - 11/22/2021 - Meetings with         0.50   $395.00    $197.50
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Linda
               Brooke


Service        Texas Foster Care Monitoring - 11/22/2021 - Document              4.17   $395.00   $1,647.15
               Review/Data Analysis/Verification Work / Linda Brooke


Service        Texas Foster Care Monitoring - 11/22/2021 - Project               4.08   $395.00   $1,611.60
               Management & Planning / Linda Brooke


Service        Texas Foster Care Monitoring - 11/22/2021 - Document              6.17   $395.00   $2,437.15
               Review/Data Analysis/Verification Work / Beth Mitchell


Service        Texas Foster Care Monitoring - 11/22/2021 - Document              0.08   $250.00     $20.00
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 11/22/2021 - Project               8.00   $325.00   $2,600.00
               Management & Planning / Viveca Martinez




                                                           Page 21 of 27
          Case 2:11-cv-00084 Document 1161 Filed on 12/10/21 in TXSD Page 23 of 31

Service        Texas Foster Care Monitoring - 11/22/2021 - Document               8.00   $200.00   $1,600.00
               Review/Data Analysis/Verification Work / Adrian Gaspar


Service        Texas Foster Care Monitoring - 11/22/2021 - Meetings with          1.00   $325.00    $325.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Victoria
               Foster


Service        Texas Foster Care Monitoring - 11/22/2021 - Meetings with          0.17   $325.00     $55.25
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Victoria
               Foster


Service        Texas Foster Care Monitoring - 11/22/2021 - Document               8.00   $120.00    $960.00
               Review/Data Analysis/Verification Work / Anna Farr


Service        Texas Foster Care Monitoring - 11/23/2021 - Document               7.00   $300.00   $2,100.00
               Review/Data Analysis/Verification Work / Monica Benedict


Service        Texas Foster Care Monitoring - 11/23/2021 - Document               0.83   $250.00    $207.50
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 11/23/2021 - Document               3.50   $395.00   $1,382.50
               Review/Data Analysis/Verification Work / Linda Brooke


Service        Texas Foster Care Monitoring - 11/23/2021 - Project                6.58   $395.00   $2,599.10
               Management & Planning / Linda Brooke


Service        Texas Foster Care Monitoring - 11/23/2021 - Meetings with          0.83   $395.00    $327.85
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Beth
               Mitchell


Service        Texas Foster Care Monitoring - 11/23/2021 - Document               2.67   $395.00   $1,054.65
               Review/Data Analysis/Verification Work / Beth Mitchell


Service        Texas Foster Care Monitoring - 11/23/2021 - Document               1.00   $395.00    $395.00
               Review/Data Analysis/Verification Work / Beth Mitchell


Service        Texas Foster Care Monitoring - 11/23/2021 - Document               1.17   $250.00    $292.50
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 11/23/2021 - Document               8.50   $325.00   $2,762.50
               Review/Data Analysis/Verification Work / Nancy Arrigona


Service        Texas Foster Care Monitoring - 11/23/2021 - Document               7.00   $325.00   $2,275.00
               Review/Data Analysis/Verification Work / Clarice Rogers


Service        Texas Foster Care Monitoring - 11/23/2021 - Document               8.00   $200.00   $1,600.00
               Review/Data Analysis/Verification Work / Nora Sawyer




                                                            Page 22 of 27
          Case 2:11-cv-00084 Document 1161 Filed on 12/10/21 in TXSD Page 24 of 31

Service        Texas Foster Care Monitoring - 11/23/2021 - Project               8.00   $325.00   $2,600.00
               Management & Planning / Viveca Martinez


Service        Texas Foster Care Monitoring - 11/23/2021 - Document              7.00   $250.00   $1,750.00
               Review/Data Analysis/Verification Work / Mahiri Moody


Service        Texas Foster Care Monitoring - 11/23/2021 - Meetings with         0.58   $425.00    $246.50
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Deborah
               Fowler


Service        Texas Foster Care Monitoring - 11/23/2021 - Report and            5.00   $425.00   $2,125.00
               Document Preparation / Deborah Fowler


Service        Texas Foster Care Monitoring - 11/23/2021 - Meetings with         1.00   $250.00    $250.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Deborah
               Borman


Service        Texas Foster Care Monitoring - 11/23/2021 - Document              8.00   $200.00   $1,600.00
               Review/Data Analysis/Verification Work / Adrian Gaspar


Service        Texas Foster Care Monitoring - 11/23/2021 - Document              8.00   $120.00    $960.00
               Review/Data Analysis/Verification Work / Anna Farr


Service        Texas Foster Care Monitoring - 11/24/2021 - Document              7.75   $325.00   $2,518.75
               Review/Data Analysis/Verification Work / Nancy Arrigona


Service        Texas Foster Care Monitoring - 11/24/2021 - EVE/WKND              2.50   $425.00   $1,062.50
               Report and Document Preparation / Deborah Fowler


Service        Texas Foster Care Monitoring - 11/24/2021 - Document              3.50   $250.00    $875.00
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 11/24/2021 - Document              1.58   $250.00    $395.00
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 11/26/2021 - Document              1.00   $250.00    $250.00
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 11/26/2021 - Document              1.00   $250.00    $250.00
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 11/27/2021 - Document              2.00   $250.00    $500.00
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 11/28/2021 - EVE/WKND              5.00   $425.00   $2,125.00
               Report and Document Preparation / Deborah Fowler


Service        Texas Foster Care Monitoring - 11/28/2021 - Document              2.50   $395.00    $987.50
               Review/Data Analysis/Verification Work / Beth Mitchell




                                                           Page 23 of 27
          Case 2:11-cv-00084 Document 1161 Filed on 12/10/21 in TXSD Page 25 of 31

Service        Texas Foster Care Monitoring - 11/29/2021 - Meetings with           2.00   $250.00    $500.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Deborah
               Borman


Service        Texas Foster Care Monitoring - 11/29/2021 - Meetings with           1.08   $250.00    $270.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Mahiri
               Moody


Service        Texas Foster Care Monitoring - 11/29/2021 - Document                7.00   $250.00   $1,750.00
               Review/Data Analysis/Verification Work / Mahiri Moody


Service        Texas Foster Care Monitoring - 11/29/2021 - Meetings with           0.75   $425.00    $318.75
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Deborah
               Fowler


Service        Texas Foster Care Monitoring - 11/29/2021 - Document                1.50   $425.00    $637.50
               Review/Data Analysis/Verification Work / Deborah Fowler


Service        Texas Foster Care Monitoring - 11/29/2021 - Meetings with           1.00   $250.00    $250.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Catherine
               Morris


Service        Texas Foster Care Monitoring - 11/29/2021 - Document                2.33   $250.00    $582.50
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 11/29/2021 - Document                4.05   $325.00   $1,316.25
               Review/Data Analysis/Verification Work / Monica Santiago


Service        Texas Foster Care Monitoring - 11/29/2021 - Document                1.00   $325.00    $325.00
               Review/Data Analysis/Verification Work / Monica Santiago


Service        Texas Foster Care Monitoring - 11/29/2021 - Document                7.00   $200.00   $1,400.00
               Review/Data Analysis/Verification Work / Nora Sawyer


Service        Texas Foster Care Monitoring - 11/29/2021 - Project                 8.00   $325.00   $2,600.00
               Management & Planning / Viveca Martinez


Service        Texas Foster Care Monitoring - 11/29/2021 - Meetings with           3.50   $395.00   $1,382.50
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Linda
               Brooke


Service        Texas Foster Care Monitoring - 11/29/2021 - Project                 2.33   $395.00    $920.35
               Management & Planning / Linda Brooke


Service        Texas Foster Care Monitoring - 11/29/2021 - Document                2.42   $395.00    $955.90
               Review/Data Analysis/Verification Work / Linda Brooke




                                                            Page 24 of 27
          Case 2:11-cv-00084 Document 1161 Filed on 12/10/21 in TXSD Page 26 of 31

Service        Texas Foster Care Monitoring - 11/29/2021 - Project                  2.50   $300.00    $750.00
               Management & Planning / Monica Benedict


Service        Texas Foster Care Monitoring - 11/29/2021 - Document                 5.00   $300.00   $1,500.00
               Review/Data Analysis/Verification Work / Monica Benedict


Service        Texas Foster Care Monitoring - 11/29/2021 - Document                 0.67   $200.00    $134.00
               Review/Data Analysis/Verification Work / Adrian Gaspar


Service        Texas Foster Care Monitoring - 11/29/2021 - Document                 8.00   $200.00   $1,600.00
               Review/Data Analysis/Verification Work / Adrian Gaspar


Service        Texas Foster Care Monitoring - 11/29/2021 - Document                 7.50   $250.00   $1,875.00
               Review/Data Analysis/Verification Work / Veronica Lockett-
               Villalpando


Service        Texas Foster Care Monitoring - 11/29/2021 - Meetings with            0.50   $250.00    $125.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Veronica
               Lockett-Villalpando


Service        Texas Foster Care Monitoring - 11/29/2021 - Document                 2.00   $325.00    $650.00
               Review/Data Analysis/Verification Work / Victoria Foster


Service        Texas Foster Care Monitoring - 11/29/2021 - Meetings with            1.55   $325.00    $503.75
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Victoria
               Foster


Service        Texas Foster Care Monitoring - 11/29/2021 - Document                 3.90   $325.00   $1,267.50
               Review/Data Analysis/Verification Work / Victoria Foster


Service        Texas Foster Care Monitoring - 11/29/2021 - Document                 8.00   $120.00    $960.00
               Review/Data Analysis/Verification Work / Anna Farr


Service        Texas Foster Care Monitoring - 11/29/2021 - Meetings with            1.08   $250.00    $270.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Shay Price


Service        Texas Foster Care Monitoring - 11/29/2021 - Document                 6.92   $250.00   $1,730.00
               Review/Data Analysis/Verification Work / Shay Price


Service        Texas Foster Care Monitoring - 11/29/2021 - Document                 1.50   $395.00    $592.50
               Review/Data Analysis/Verification Work / Beth Mitchell


Service        Texas Foster Care Monitoring - 11/29/2021 - Meetings with            1.00   $395.00    $395.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Beth
               Mitchell




                                                            Page 25 of 27
          Case 2:11-cv-00084 Document 1161 Filed on 12/10/21 in TXSD Page 27 of 31

Service        Texas Foster Care Monitoring - 11/29/2021 - Meetings with          1.00   $325.00    $325.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Nancy
               Arrigona


Service        Texas Foster Care Monitoring - 11/29/2021 - Document               8.83   $325.00   $2,869.75
               Review/Data Analysis/Verification Work / Nancy Arrigona


Service        Texas Foster Care Monitoring - 11/29/2021 - Meetings with          1.00   $200.00    $200.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Nora
               Sawyer


Service        Texas Foster Care Monitoring - 11/30/2021 - Project                4.00   $325.00   $1,300.00
               Management & Planning / Viveca Martinez


Service        Texas Foster Care Monitoring - 11/30/2021 - Document               9.00   $300.00   $2,700.00
               Review/Data Analysis/Verification Work / Monica Benedict


Service        Texas Foster Care Monitoring - 11/30/2021 - Document               7.75   $325.00   $2,518.75
               Review/Data Analysis/Verification Work / Monica Santiago


Service        Texas Foster Care Monitoring - 11/30/2021 - Document               8.00   $200.00   $1,600.00
               Review/Data Analysis/Verification Work / Adrian Gaspar


Service        Texas Foster Care Monitoring - 11/30/2021 - Document               6.92   $395.00   $2,733.40
               Review/Data Analysis/Verification Work / Linda Brooke


Service        Texas Foster Care Monitoring - 11/30/2021 - Project                1.83   $395.00    $722.85
               Management & Planning / Linda Brooke


Service        Texas Foster Care Monitoring - 11/30/2021 - Document               8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Veronica Lockett-
               Villalpando


Service        Texas Foster Care Monitoring - 11/30/2021 - Document              11.50   $325.00   $3,737.50
               Review/Data Analysis/Verification Work / Victoria Foster


Service        Texas Foster Care Monitoring - 11/30/2021 - Document               8.00   $120.00    $960.00
               Review/Data Analysis/Verification Work / Anna Farr


Service        Texas Foster Care Monitoring - 11/30/2021 - Document               8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Shay Price


Service        Texas Foster Care Monitoring - 11/30/2021 - Document               8.75   $325.00   $2,843.75
               Review/Data Analysis/Verification Work / Nancy Arrigona


Service        Texas Foster Care Monitoring - 11/30/2021 - Document               8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Mahiri Moody


Service        Texas Foster Care Monitoring - 11/30/2021 - Document               2.50   $425.00   $1,062.50
               Review/Data Analysis/Verification Work / Deborah Fowler



                                                           Page 26 of 27
          Case 2:11-cv-00084 Document 1161 Filed on 12/10/21 in TXSD Page 28 of 31

Service           Texas Foster Care Monitoring - 11/30/2021 - EVE/WKND                   2.00            $425.00               $850.00
                  Document Review/Data Analysis/Verification Work / Deborah
                  Fowler


Service           Texas Foster Care Monitoring - 11/30/2021 - Document                   8.00            $200.00             $1,600.00
                  Review/Data Analysis/Verification Work / Nora Sawyer


Product           Expenses for Texas Foster Care Monitoring (11/01/2021 -                1.00            $125.72               $125.72
                  11/30/2021)


                                                                                                 Amount Due            $470,586.79




Notes

All documents reviewed include data and information submitted by DFPS and HHSC; laws, policies, regulations; the agencies' websites and
other relevant, publicly-available data and information; communications with the parties; and internal work product for the Court.




                                                            Page 27 of 27
             Case 2:11-cv-00084 Document 1161 Filed on 12/10/21 in TXSD Page 29 of 31
Expense report for Invoice                                                Texas Appleseed
28


11/09/2021                                   $115.70

Client       Texas DFPS/HHSC
Project      Texas Foster Care Monitoring
Category     Transportation
Person       Clarice Rogers
11.9.21 - Belton Trip - Car Rental $115.70




                                                 Page 1 of 4
Case 2:11-cv-00084 Document 1161 Filed on 12/10/21 in TXSD Page 30 of 31




                              Page 2 of 4
             Case 2:11-cv-00084 Document 1161 Filed on 12/10/21 in TXSD Page 31 of 31
11/09/2021                                  $10.00

Client       Texas DFPS/HHSC
Project      Texas Foster Care Monitoring
Category     Transportation
Person       Clarice Rogers
11.9.21 - Belton Trip - gas $10




                                              Page 3 of 4
